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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



United States of America,                       Case No. 19-cr-312(3) (ECT/DTS)

      Plaintiff,

v.                                              REPORT AND RECOMMENDATION

Jacqueline Zuniga-Garcia,

      Defendant.


Thomas Hollenhorst, U.S. Attorney’s Office, 300 South Fourth Street, Suite 600,
Minneapolis, Minnesota 55415, for Plaintiff

Piper Kenney Wold, Law Office of Piper Kenney Wold, 331 Second Avenue South, Suite
705, Minneapolis, Minnesota 55401, for Defendant


      Defendant Jacqueline Zuniga-Garcia brought a Motion to Suppress Search and

Seizure Evidence [Docket No. 57] along with several non-dispositive motions. On May

29, 2020 her counsel advised the Court that she did not intend to have witnesses appear

in support of her motion to suppress and that it could be decided on the papers without a

hearing.

      Zuniga-Garcia did not file any memorandum of law or other materials in support of

her motion.1 The motion itself, which was filed on February 25, 2020, simply states she is

moving “to suppress any evidence obtained as the result of any illegal searches or

seizures” in violation of the Fourth Amendment and that “[t]here was no probable cause

to support these searches.” Docket No. 57. She asserts her “motion is based upon the




1She filed three short memoranda in support of non-dispositive motions, but none of them
addresses the motion to suppress. See Docket Nos. 48, 50, 55.
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Indictment, the records and files in the above-action, and any and all matters which may

be presented prior to or at the time of the hearing on said motion.” Id.

       Zuniga-Garcia has not identified specific evidence she seeks to suppress nor any

particular bases to support any suppression of evidence. Accordingly, the Court

recommends her motion be denied for lack of specificity.

                                  RECOMMENDATION

       For the reasons set forth above, the Court RECOMMENDS that Defendant

Jacqueline Zuniga-Garcia’s Motion to Suppress Search and Seizure Evidence [Docket

No. 57] be DENIED.

Dated: June 24, 2020                             s/David T. Schultz____
                                                 DAVID T. SCHULTZ
                                                 U.S. Magistrate Judge



                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals.

Under Local Rule 72.2(b)(1), “a party may file and serve specific written objections to a
magistrate judge’s proposed finding and recommendations within 14 days after being
served a copy” of the Report and Recommendation. A party may respond to those
objections within 14 days after being served a copy of the objections. LR 72.2(b)(2). All
objections and responses must comply with the word or line limits set for in LR 72.2(c).




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